          Case 1:21-cr-10104-PBS Document 35 Filed 01/25/22 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA )
                               )
            v.                 )        Criminal No. 21-10104-PBS
                               )
VLADISLAV KLYUSHIN,            )
                               )
            Defendant.         )
______________________________)

                  ASSENTED-TO MOTION FOR PROTECTIVE ORDER

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure and Local Rule 116, the

United States hereby respectfully submits a proposed protective order – attached as Exhibit A –

relating to documents and information produced, and to be produced in the future, in this case and

respectfully requests, with the assent of the defendant, that the Court enter the attached order. As

grounds for this assented-to motion, the government states as follows.

       The Indictment returned in this case alleges securities fraud and conspiracy to commit the

same. Many of the documents to be disclosed to the defendant contain personal communications,

and personally identifying information and/or financial information (including account numbers)

of third parties, including the personal communications and financial records of his alleged

coconspirators. Under these circumstances, and consistent with the concerns regarding the

protection of personal information reflected in Local Rule 5.3 and Federal R. Crim P. 49.1, the

government respectfully submits that the discovery materials should be protected from

unnecessary dissemination.

       The defendant, through his counsel, assents to this motion and the attached proposed order.

       WHEREFORE, the United States, with the assent of the defendant, respectfully requests

that this Court enter the proposed protective order attached hereto as Exhibit A.
          Case 1:21-cr-10104-PBS Document 35 Filed 01/25/22 Page 2 of 2




                                                    Respectfully submitted,

                                                    RACHAEL S. ROLLINS
                                                    United States Attorney

                                                 By: /s/ Stephen E. Frank
                                                     STEPHEN E. FRANK
                                                     SETH B. KOSTO
                                                     Assistant U.S. Attorneys

Date: January 24, 2021

                                CERTIFICATE OF SERVICE

       I, Stephen E. Frank, hereby certify that on January 24, 2021, I served a copy of the
foregoing on counsel of record in this case by electronic filing.

                                                    /s/ Stephen E. Frank
                                                    STEPHEN E. FRANK
                                                    Assistant U.S. Attorney




                                                2
